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       Case 4:21-cv-00289 Document 16 Filed on 09/08/21 in TXSD Page 1 of 1
                                                                                        United States District Court
                                                                                         Southern District of Texas

                                                                                               ENTERED
                  UNITED STATES DISTRICT COURT                                          September 08, 2021
                   SOUTHERN DISTRICT OF TEXAS                  Nathan Ochsner, Clerk
                       HOUSTON DIVISION
                               §
 GENESIS MARINE,LLC            §         Cause No. 4:21-cv-00289
                               §
 v.                            §
                               §
 SGR ENERGY,INC.               §


                                    CONSENT JUDGMENT

        Considering the parties Joint Motion for Entry of Consent Judgment;

        IT IS ORDERED ADJUDGED AND DECREED that there be final judgment herein in

favor of Plaintiff Genesis Marine, LLC and against Defendant SGR Energy, Inc. in the amount of

$2,461,996.03, plus all reasonable past, present, and future expenses, costs, and attorneys' fees

associated with the collection ofsame, plus 5% interest from March 16,2021 until the entry ofthis

judgment, plus judicial interest from the date ofjudgment until paid in full.



        Houston, Texas, on this 8th day of September ,20 21 .




                                                     U ITED ST TE DISTRIC                  UDGE




                                                                     TRUE COP     I CERTIFY ATTEST.
                                                                   NATH    0      SNER,Cler ,•f Court
                                                 1                 By
PD.31408751.1                                                                   Deputy Clerk

                                          EXHIBIT A
